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                                                         EXHIBIT 1




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                                                         EXHIBIT 2




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                                                         EXHIBIT 3




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                                                         EXHIBIT 4




                                                         EXHIBIT 4
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     Immigration and Customs
     Enforcement Did Not
     Follow Federal Procurement
     Guidelines When Contracting
     for Detention Services




                                                    February 21, 2018
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                                      DHS OIG HIGHLIGHTS
                 Immigration and Customs Enforcement Did Not
                  Follow Federal Procurement Guidelines When
                       Contracting for Detention Services

 February 21, 2018                         What We Found
 Why We Did                                U.S. Immigration and Customs Enforcement (ICE) is
                                           responsible for the detention of removable aliens. ICE
 This Audit                                commonly uses a type of agreement called an IGSA to
                                           reserve space at detention facilities owned or operated by
                                           state or local governments.
 U.S. Senator Claire
 McCaskill asked us to
                                           In September 2014, ICE improperly modified an existing
 review ICE’s modification of
                                           IGSA with the City of Eloy (Eloy) in Arizona to establish
 its intergovernmental
                                           the 2,400-bed South Texas Family Residential Center in
 service agreement (IGSA)
                                           Dilley, Texas, more than 900 miles away. Although ICE
 with the City of Eloy in
                                           could have contracted directly with the private company
 Arizona to procure family
                                           that operates the South Texas Family Residential Center,
 detention space in Dilley,
                                           CCA, it instead created an unnecessary “middleman” by
 Texas. We also reviewed
                                           modifying its existing IGSA with Eloy. Eloy’s sole function
 other selected IGSAs to
                                           under the modification is to act as the middleman
 determine whether they
                                           between ICE and CCA; Eloy collects about $438,000 in
 complied with applicable
                                           annual fees for this service.
 laws and regulations.
                                           In addition, ICE’s policies and procedures for negotiating,
 What We                                   executing, and modifying IGSAs are insufficient and lack
                                           specific guidance for the appropriate use of IGSAs.
 Recommend                                 Consequently, ICE may have overpaid for detention
                                           services at the South Texas Family Residential Center, as
 ICE should 1) establish                   well as other detention facilities. Moreover, ICE has no
 procedures for IGSAs that                 assurance that it executed detention center contracts in
 implement Federal                         the best interest of the Federal Government, taxpayers, or
 purchasing guidelines; and                detainees.
 2) discontinue modifying the
 Eloy IGSA to procure family
 detention space at the
                                           ICE Response
 South Texas Family
 Residential Center.                       ICE concurred with recommendation 1 and non-concurred
                                           with recommendation 2. ICE will undertake an effort to
 For Further Information:                  ensure its written procedures implement Federal
 Contact our Office of Public Affairs at   guidelines. ICE believes that its modification of the City of
 (202) 254-4100, or email us at
 DHS-OIG.OfficePublicAffairs@oig.dhs.gov   Eloy IGSA was proper and therefore future modifications
                                           also would be proper.


www.oig.dhs.gov                                                                               OIG-18-53
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                  OFFICE OF INSPECTOR GENERAL
                      Department of Homeland Security
                     Washington, DC 20528 / www.oig.dhs.gov


                                 FEB 21 2018

MEMORANDUM FOR:         Thomas D. Homan
                        Acting Director
                        Immigration and Customs Enforcement


FROM:                   John V. Kelly
                        Acting Inspector General

SUBJECT:                Immigration and Customs Enforcement Did Not Follow
                        Federal Procurement Guidelines When Contracting for
                        Detention Services

For your action is our final report, Immigration and Customs Enforcement Did
Not Follow Federal Procurement Guidelines When Contracting for Detention
Services. We incorporated the formal comments from your office in the final
report. The report contains two recommendations aimed at improving DHS'
processes for detention center contracting. DHS concurred with the first
recommendation and non-concurred with the second. Based on information
provided in your response to the draft report, we consider the first
recommendation resolved and open and the second recommendation
unresolved and open. Once your office has fully implemented the
recommendation, please submit a formal closeout letter to us within 30 days so
that we may close the recommendation. The memorandum should be
accompanied by evidence of completion of agreed-upon corrective actions and
of the disposition of any monetary amounts. Please send your closure request
to OIGAuditsFollowup@oig.dhs.gov.

Consistent with our responsibility under the Inspector General Act, we will
provide copies of our report to congressional committees with oversight and
appropriation responsibility over the Department of Homeland Security. We will
post the report on our website for public dissemination.

Please call me with any questions, or your staff may contact
Donald Bumgardner, Deputy Assistant Inspector General for Audits, at
(202) 254-4100, or Lisa Vonder Haar, Audit Director at (202) 254-4143.




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                                       Background

U.S. Immigration and Customs Enforcement (ICE) promotes homeland security
and public safety by enforcing Federal laws governing border control, customs,
trade, and immigration. ICE’s responsibilities include the detention of
removable aliens1 who present a flight risk, a threat to public safety, or fall
within mandatory detention requirements.

In fiscal year 2016, ICE received about $2.3 billion to house detainees at 203
detention facilities nationwide. ICE owns and operates five of these detention
facilities. It secured the remainder by contracting directly with private
companies, establishing intergovernmental agreements with the U.S. Marshal
Service, or negotiating intergovernmental service agreements (IGSA)2 with state
and local governments. IGSAs enable ICE to use bed space in city, county, or
state detention facilities. The state and local governments may manage the
facilities and detention services directly or use subcontractors. As with other
types of agreements, ICE may renegotiate or “modify” IGSAs to meet changing
needs for detention space.

In 2014, a surge of families and Location of Eloy, Arizona, and Dilley, Texas
unaccompanied minors crossing
the Southwest border created
an urgent need for family
detention space. To help meet
this need, ICE modified an
existing IGSA for adult
detention with the City of Eloy
(Eloy) in Arizona to create the
                                  Source: Google Maps
South Texas Family Residential
Center in Dilley, Texas (South Texas Modification). The resulting residential
center —now the largest ICE detention facility in the Nation — is more than
900 miles from Eloy.

U.S. Senator Claire McCaskill asked us to review the South Texas Modification.
We also reviewed other selected IGSAs to determine whether they complied
with applicable laws, regulations, and agreements.




1 A person who is subject to removal as specified in the Immigration and Naturalization Act.

This includes any alien illegally in the United States, regardless of whether the alien entered
the country by fraud, misrepresentation, or other illegal means; or entered legally but
subsequently violated the terms of his or her nonimmigrant status classification.
2 ICE staff also use the acronym “IGSA” as a general term to describe some detention facilities.

In this report, “IGSA” refers to the specific procurement agreement.
www.oig.dhs.gov                                  2                                      OIG-18-53
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                                  Results of Audit

ICE improperly modified its IGSA with the City of Eloy in Arizona to include the
South Texas Family Residential Center in Dilley, Texas. In addition, ICE’s
policies and procedures for negotiating, executing, and modifying IGSAs are
insufficient and lack specific guidance for the appropriate use of IGSAs.
Consequently, ICE may have overpaid for detention services at the South Texas
Family Residential Center, as well as other detention facilities. Moreover, ICE
has no assurance that it executed detention center contracts in the best
interest of the Federal Government, taxpayers, or detainees.

ICE Improperly Modified an Existing IGSA to Provide New Family
Detention Facilities

Although ICE should have contracted directly with the private company that
operates the South Texas Family Residential Center, CCA,3 it instead created
an unnecessary “middleman” by modifying its existing IGSA with Eloy. The
modification was improper for two reasons: 1) the terms of the IGSA were
negotiated directly with Eloy’s existing subcontractor, CCA, instead of the party
legally responsible for the agreement (Eloy); and 2) the addition of family
detention services was outside the scope of the original IGSA.

In 2006, ICE executed the original IGSA with Eloy to provide housing for up to
1,500 adult immigration detainees at the Eloy Detention Center in Eloy,
Arizona. Eloy subcontracted with CCA, which owns and operates the facility, to
house male and female detainees at a mix of minimum and medium security
levels.

In July 2014, following a surge of families and unaccompanied minors crossing
the Southwest border, ICE’s Office of Acquisition asked two private companies
to submit proposals for family detention facilities in southern Texas, with a
2,000- to 4,000-bed capacity. One of the companies declined to submit a
proposal. The other, CCA, presented a proposal and entered into negotiations
with ICE to construct and operate the South Texas Family Residential Center
through a modification of the Eloy IGSA. ICE worked directly with CCA to
develop the requirements for the facility; Eloy did not participate in developing
the requirements or any other aspect of the negotiations with ICE.

After reviewing CCA’s proposal, ICE’s Commercial and Administrative Law
Division (CALD) within the Office of the Principal Legal Advisor issued a



3CCA was formerly known as Corrections Corporation of America. In late 2016, it rebranded its
corporate enterprise as “CoreCivic,” but continues to use the acronym “CCA.”
www.oig.dhs.gov                                3                                   OIG-18-53
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memorandum4 warning the Director and Head of Contracting that the South
Texas Modification was not legally advisable. The memorandum also stated,
“…needed detention services can be procured expeditiously using available
procurement tools.” Furthermore, CALD concluded that the proposed
modification of the Eloy IGSA was likely outside the scope of the original IGSA
because it would include “work at a facility that is 900 miles away by a
subcontractor (CCA) over whom Eloy will exercise minimal operational control.”
The contracted service requirements for housing children and families at the
South Texas Family Residential Center in Dilley are also beyond the scope of
the original IGSA. The original IGSA called for Eloy to operate a detention
facility that housed adults. We believe that the care of children and families
included in the modification is substantially different.

           Eloy Detention Center                South Texas Family Residential Center




    Source: Defense Video Imagery Distribution System Photos by Charles Reed

Nevertheless, ICE continued negotiating exclusively with CCA, establishing the
housing layout and pricing schedule, without input from Eloy. Then, on
September 22, 2014, CCA officials attended Eloy's City Council meeting to
request the City modify its IGSA with ICE to include the South Texas Family
Residential Center; Eloy agreed. The next day, ICE executed the South Texas
Modification and Eloy subsequently contracted with CCA to provide the actual
detention services for up to 48 months. Eloy’s sole function under the
modification is to act as the middleman between ICE and CCA; Eloy collects
about $438,000 in annual fees for this service. ICE pays for each of the 2,400
beds in the South Texas Family Residential Center whether they are occupied
or not. As of September 2016, ICE paid about $261 million to house families
and unaccompanied minors in the South Texas facility.

According to ICE’s Office of Acquisition staff, it was more expedient to modify
the Eloy IGSA than contract directly with CCA. In addition, ICE program and

4“Review of Discussed Courses of Action for an Intergovernmental Services Agreement in
Carrizo Springs and Dilley, Texas,” dated July 30, 2014.
www.oig.dhs.gov                               4                                   OIG-18-53
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acquisition officials said that IGSAs offered them much greater flexibility than a
traditional procurement agreement.

In August 2016, Office of Acquisition staff said that ICE would not fund the
South Texas modification beyond September 2016. However, in October 2016,
ICE modified the Eloy IGSA to extend its use of the South Texas Family
Residential Center until 2021, 3 years longer than the original agreement.
Although the October 2016 modification eliminated early termination fees, we
believe ICE should have executed a new agreement directly with CCA. The
October 2016 modification is improper for the same reasons as the September
2014 modification. Appendix B contains a timeline of the events related to the
South Texas Modification.

ICE Does Not Have Sufficient Policies or Guidance for IGSAs

There are three types of procurement instruments available to Federal
executive agencies for obtaining supplies and services — grants, cooperative
agreements, and procurement contracts. IGSAs are not grants. However, ICE
has not formally defined IGSAs as cooperative agreements or procurement
contracts, and does not follow Office of Management and Budget’s uniform
administrative requirements for Federal awards (2 Code of Federal Regulation
(CFR) Part 200) or Federal Acquisition Regulations (FAR) for procurement
contracts. In the absence of Federal guidelines, ICE should have developed
policies and procedures for negotiating, executing, and modifying IGSAs.

Without standard operating procedures for IGSAs, ICE cannot ensure it
executes IGSAs properly, consistently, or efficiently. For example, in one IGSA
we reviewed, a retiring contracting officer did not maintain any documentation
to support awarding the IGSA because ICE did not have a standard for
document retention. As a result, the new contracting officer needed to repeat
all the pre-award actions.

Additionally, ICE is not in compliance with the Office of Management and
Budget’s Circular A-123, Management's Responsibility for Enterprise Risk
Management and Internal Control, which requires Federal agencies to establish
and maintain controls (policies and procedures) related to operations,
reporting, and compliance with relevant laws and regulations.




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Conclusion

In general, ICE has no assurance that it executed detention center contracts in
the best interest of the Federal Government, taxpayers, or detainees. It appears
that ICE deliberately circumvented FAR provisions by modifying its IGSA with
Eloy, rather than contracting directly with CCA. Because ICE's agreement and
legal relationship is with the City of Eloy, CCA’s performance is effectively
insulated from government scrutiny. As such, ICE has no assurance that the
South Texas Modification was in the best interest of the Federal Government,
taxpayers, or detainees.

                             Recommendations

Recommendation 1. We recommend that the Deputy Director of ICE establish
and communicate specific written procedures for IGSAs implementing Federal
guidelines that include:

      a definition of an IGSA and determination of whether it is a cooperative
       agreement or procurement contract,
      administrative requirements for the solicitation and award of IGSAs,
      post-award requirements,
      guidelines for modifications, and
      allowable cost structure.

Recommendation 2. We recommend that ICE discontinue modifying the Eloy
IGSA to procure family detention space at the South Texas Family Residential
Center and use the procedures developed in recommendation 1 to procure
necessary housing for family detention.

              Management Comments and OIG Analysis

ICE concurred with recommendation 1 and non-concurred with
recommendation 2. In addition to its response to our recommendations, ICE
included a cover letter disputing the findings in our report. A summary of ICE’s
comments and our analysis follows. Appendix A is ICE’s verbatim response to
this report, and our analysis of ICE’s general comments is presented in
appendix C. ICE also provided technical comments to the draft report, which
we incorporated, as appropriate.

ICE officials believe the modification to the Eloy IGSA was proper because 8
United States Code (U.S.C.) § 1103(a)(11)(A) authorizes them to use IGSAs for
detention services. ICE believes IGSAs are exempt from the Competition in
Contracting Act and FAR. ICE further believes the services provided at the
South Texas Residential Facility are within the scope of the original City of Eloy
www.oig.dhs.gov                        6                                 OIG-18-53
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IGSA. Additionally, ICE contends that the contracting officer’s actions ensured
that it obtained a reasonable price and executed the IGSA in the best interest
of the Federal Government, taxpayers, and detainees.

OIG did not question ICE’s authority to use IGSAs or its continuing need to use
the South Texas Family Residential Center. We believe the modification of the
IGSA with the City of Eloy was improper, as discussed in the report. Eloy’s sole
function under the modification is to act as the middleman, for which it collects
about $438,000 in annual fees.

ICE Comments to Recommendation 1

ICE concurred with this recommendation. ICE said its Office of Acquisition has
established specific written procedures for negotiating, establishing, and
administering IGSAs. ICE agreed to undertake an effort to ensure the
procedures address the bulleted list of items in recommendation 1, which ICE
labeled a–e. ICE also stated the ICE Contract and Acquisition Procedures
(ICECAP) 07.08 provided a definition of IGSAs and established standard IGSA
templates for solicitations, post-award requirements, and modifications.

OIG Analysis of ICE Comments

The development and implementation of written policy and procedures that
incorporate the bulleted list of items in recommendation 1, which ICE labeled
a-e, would meet the intent of the recommendation. ICE stated its contract and
acquisition procedures, specifically ICECAP 07.08, established policy governing
IGSAs. However, according to ICE’s Deputy Assistant Director for Acquisition
Policy and Procedures, ICE is not using ICECAPs, including ICECAP 07.08, and
ICE was in the process of developing procurement policies. In addition, ICE
should clearly communicate to staff its current and enforceable policies
(templates and checklists are not adequate policy documents). This
recommendation is resolved and open.

ICE Comments to Recommendation 2

ICE non-concurred with this recommendation. ICE responded that it modified
its IGSA with the City of Eloy in accordance with the terms and conditions of
the existing IGSA with Eloy. ICE further cites its statutory authority to use
IGSAs and asserts it has written procedures and guidance for negotiating,
establishing, and administering IGSAs. ICE requested that the Office of
Inspector General (OIG) consider this recommendation resolved and closed.




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OIG Analysis of ICE Comments

We consider ICE’s response to recommendation 2 unresponsive. OIG did not
question ICE’s authority to use IGSAs or a continuing need to use the South
Texas Family Residential Center. We believe the modification of the IGSA with
the City of Eloy was improper as discussed in this report. ICE also states it has
written procedures and guidance for negotiating, establishing, and
administering IGSAs. However, as noted previously, we do not consider
templates and checklists sufficient. This recommendation is unresolved and
open.

                   Objective, Scope, and Methodology

The Department of Homeland Security Office of Inspector General was
established by the Homeland Security Act of 2002 (Public Law 107−296) by
amendment to the Inspector General Act of 1978.

Our objective was to determine whether the modification and management of
ICE’s contract with the City of Eloy, Arizona, as well as other selected detention
center contracts, comply with applicable laws, regulations, and agreements. To
achieve our objective, we reviewed documents included in the contract files for
the selected sample. This included pre-award documentation, the IGSA,
modifications, and oversight of performance.

We reviewed a judgmental sample of 10 IGSAs for detention services selected
from ICE’s “facilities list.” We performed data reliability tests on the facilities
list provided by ICE and identified discrepancies with the data. We determined
the discrepancies did not affect our judgmental sample and the number of
IGSAs was sufficient for our review. We based our conclusions on the
documentation and records we analyzed from ICE.

We interviewed ICE personnel from Office of Acquisition, Office of Acquisition
Policy and Oversight, Office of Custody Management, Office of the Principal
Legal Advisor, Office of Financial Management, Office of Budget Policy and
Performance, and Office of Detention Policy and Planning. We reviewed
applicable Federal laws, regulations, codes, and minimum requirements
pertaining to ICE detention center contracts. We also completed a review of
departmental and component policies, procedures, and internal directives
established by DHS and ICE to ensure they meet specified requirements.

We assessed ICE’s control structure, policies, procedures, and practices
applicable to IGSAs. Our assessment would not necessarily disclose all
material weaknesses in this control structure; however, it disclosed


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weaknesses in ICE’s internal policies and procedures governing IGSAs. These
weaknesses are discussed in the body of this report.

We conducted this performance audit between October 2015 and November
2016 pursuant to the Inspector General Act of 1978, as amended, and
according to generally accepted government auditing standards. Those
standards require that we plan and perform the audit to obtain sufficient,
appropriate evidence to provide a reasonable basis for our findings and
conclusions based upon our audit objectives. We believe that the evidence
obtained provides a reasonable basis for our findings and conclusions based
upon our audit objectives.

The Office of Audits major contributors to this report are Lisa Vonder Haar,
Director; Karen J. Gardner, Audit Manager; Duane Albert, Program Analyst;
Thomas J. Bobrowski, Program Analyst; Douglas Bozeman, Program Analyst;
Elizabeth Finn, Program Analyst; Kevin Dolloson, Communications Analyst;
and Adam Buro, Independent Referencer.




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Appendix A
ICE Comments to the Draft Report
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Appendix B
South Texas Modification Timeline


            • ICE executed an intergovernmental service agreement (IGSA) with the City of Eloy to house
              adult detainees in the Eloy Detention Center. Eloy subcontracted with CCA (CoreCivic, formerly
February
              known as Corrections Corporation of America) to manage the Eloy Detention Center.
  2006


            • ICE housed adult detainees in the Eloy Detention Center according to the terms of the IGSA.
              Eloy continued to subcontract with CCA.
2006-2014



            • ICE's Commercial and Administrative Law Division issued a memo stating that IGSAs are not
February      governed by the Federal Acquisition Regulation (FAR).
  2013


            • The United States experienced a surge of unaccompanied minors and families crossing the
              Southwest border.
  2014



            • ICE requested proposals for a family detention center in South Texas from two contractors.
  July
  2014


            • CCA submitted a proposal. The other contractor declined.
  July
  2014


            • ICE's Commercial and Administrative Law Division concluded that modifying Eloy's IGSA to
  July        include the South Texas Family Residential Center was not legally advisable.
  2014


            • ICE negotiated the housing layout and pricing schedule directly with CCA.
 August
  2014


            • On September 22, 2014, CCA officials attended Eloy's City Council meeting to request the City
              modify its IGSA with ICE to include the South Texas Family Residential Center.
September
  2014

            • On Sepember 23, 2014, ICE signed modification 10 to Eloy's IGSA, incorporating the South
              Texas Family Residential Center in Dilley, Texas. The terms of modification 10 apply only to the
September
              South Texas facility.
  2014


            • ICE modified the terms and conditions of Eloy's IGSA related to the South Texas facility,
 October      increasing the ordering period from 48 to 84 months.
  2016



Source: OIG derived from ICE documents




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Appendix C
ICE Comments to Draft Report with OIG Rebuttal


                             January 8, 2018


MEMORANDUM FOR:              John V. Kelly
                             Acting Inspector General

FROM:                        Thomas D. Homan
                             Deputy Director and
                             Senior Official Performing the Duties of the Director
                             U.S. Immigration and Customs Enforcement

SUBJECT:                     Management Response to Draft Report “Immigration
                             and Customs Enforcement Did Not Follow Federal
                             Procurement Guidelines when Contracting for
                             Detention Services” (Project No. 15-124-AUD-ICE)

Thank you for the opportunity to review and comment on this draft report.
U.S. Immigration and Customs Service (ICE) appreciates the work of the Office
of Inspector General (OIG) in planning and conducting its review and issuing
this report.

ICE disagrees with certain findings and conclusions made by OIG. In
particular, we believe the report inaccurately describes the legal basis for ICE’s
Intergovernmental Service Agreement (IGSA) authority and does not
acknowledge the unique circumstances and challenges ICE faced in responding
to the 2014 surge of families crossing the border, an unprecedented situation
which persists to this day. ICE acknowledges that issues surrounding our
unique IGSA authority are technically complex, but the report’s suggestion that
ICE can only procure detention beds through Federal Acquisition Regulation
(FAR)-based contracting is simply incorrect. In fact ICE regularly uses its IGSA
authority to acquire detention beds, as this unique statutory authority allows
ICE to acquire beds quickly and in remote locations where much of our
enforcement actions occur. While the acquisition of beds for family detention
through an IGSA may not be well understood outside the immigration
enforcement community, it is by no means improper or illegal.

 OIG Rebuttal: We do not dispute ICE’s general authority to use IGSAs to obtain beds in
 detention centers and did not suggest that only standard FAR-based contracts be used to
 procure detention beds. Additionally, we did not categorize all IGSAs as improper or illegal.
 However, given the confusion within ICE over how to categorize IGSAs, ICE should have
 developed policies and procedures for negotiating, executing, and modifying them.


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As the draft report correctly notes: (1) ICE is responsible for the detention of
removable aliens; and (2) ICE faced a major surge of families and
unaccompanied minors crossing the Southwest border during 2014, which
created an urgent and compelling need for family detention space. The
resolution of this crisis became a Secretary of Homeland Security priority, and
the ICE Office of Acquisition Management (OAQ) used the contractual
flexibilities afforded by its broad IGSA authority to meet this need.

ICE’s IGSA authority is codified at 8 U.S.C. § 1103(a)(11)(A), which provides
that the U.S. Department of Homeland Security (DHS) may enter into
agreements with a State, or its subdivisions, “for necessary clothing, medical
care, necessary guard hire, and the housing, care, and security of persons
detained by [ICE] pursuant to Federal law . . . .” ICE relies on this authority for
a significant number of its detention contracts. Given this express
authorization provided under federal immigration law, ICE has no legal
requirement to compete the award of an IGSA because 8 U.S.C. § 1103(a)(11)(A)
serves as an exception to the Competition in Contracting Act (CICA)
requirement for full and open competition. CICA provides that its competition
requirements do not apply when “a statute expressly authorizes or requires
that the procurement be made through another [executive] agency or from a
specified source.” 41 U.S.C. § 3301(a)(1). Further, unlike the IGSA authority of
the Department of Defense (DoD), 10 U.S.C. § 2679(a)(4), neither ICE nor the
IGSA holder is required to competitively award any contracts or subcontracts
awarded under the IGSA.5 Like DoD, ICE’s IGSAs are not generally required to
follow the Federal Acquisition Regulation (FAR).6

In addition, an IGSA is not a cooperative agreement.7 A cooperative agreement
is used to transfer a thing of value to a State, local government or other entity,
whereas a procurement contract is used when the principal purpose is to
obtain services or property, by purchase, lease or barter, for the direct benefit

5
 Major Erik J. Zoll, Intergovernmental Support Agreements: A Primer for the Field, The Army Lawyer, (June
2017), at 43 (discussing how the DoD IGSAs are exempt from CICA); Michael J. Davidson, CICA’s Uncle Sam
Exception, 53 The Procurement Lawyer, 3, and 5-6 (Fall 2017) (discussing ICE IGSA authority and exemption from
CICA).
6
 Zoll, supra note 1, at 42-43; Davidson, supra note 1, at 3, 5. See also Board of County Commissioners of the
County of Bernalillo v. United States, 93 Fed. Cl. 228, 234 (2010) (detention services in an intergovernmental
contract between the office of the Federal Detention Trustee and Bernalillo County was not subject to the FAR);
ICE Contracting and Acquisition Procedures (ICECAP) 07.08, Inter-Governmental Service Agreements (IGSA)
¶2(a) (Aug. 28, 2007). Although not FAR-based, IGSAs are governed by law and regulations concerning the
obligation and expenditure of appropriated funds and hence subject to the DHS Acquisition Manual and OMB
Circular A-87, Cost Principles for State, Local and Indian Tribal Governments, codified at 2 C.F.R. part 225, which
ICE OAQ uses when determining a bed-day rate.
7
  A July 30, 2014 unsigned memorandum from Song Kim, Acting Chief, Commercial and Administrative Law
Division (CALD), OPLA, ICE, to Bill Weinberg, Director and Head of Contracting Activity, OAQ, ICE, does not
represent the longstanding views of OAQ and the OPLA that IGSAs are statutorily authorized as a contract vehicle
available for acquiring detention services in support of the ICE immigration enforcement mission.

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or use of the United States.8 Despite the OIG’s conclusion ICE has never
defined IGSAs nor followed the FAR and or federal contracting guidelines
contained in part 200 of Title 2 of the Code of Federal Regulations, both ICE
OAQ and the Office of the Principal Legal Advisor (OPLA) have long taken the
position that an IGSA is a type of procurement rather than a cooperative
agreement.9

    OIG Rebuttal: No part of the report addresses the applicability of the Competition in
    Contracting (CICA) to IGSAs. In any event, ICE can decide whether to address the
    relationship between CICA and IGSAs as it develops policies and procedures for negotiating,
    executing, and modifying IGSAs.


The draft report cites two reasons why the OIG believes ICE improperly
modified its IGSA with the City of Eloy, in Arizona: (1) the terms of the IGSA
were negotiated directly with Eloy’s existing subcontractor CCA, instead of the
party legally responsible for the agreement (Eloy); and (2) the addition of family
detention services was outside the scope of the original IGSA.

ICE contends that the modification to the Eloy IGSA was proper. ICE is
statutorily authorized to utilize IGSAs for detention services, and IGSAs are
exempt from both the CICA and the FAR. Assuming the IGSA contracting
partner consents, ICE is unaware of any legal prohibition against negotiating
contractual terms with an IGSA subcontractor. Further, given the non-
applicability of CICA and the FAR, ICE is free to take advantage of the broad
flexibilities afforded by its IGSA authority to modify the terms of the original
agreement. At the time of the IGSA modification, ICE was neither under a legal
obligation to compete the detention contract within the commercial
marketplace nor subject to the normal CICA/FAR requirements on
modifications of contracts. Therefore, ICE has authority to noncompetitively
enter into an IGSA for detention services and to negotiate the IGSA terms
directly with Eloy’s subcontractor, CCA. Further, the addition of family
detention services was consistent with the scope, intent, and framework of the
original IGSA.




8
    See Assisted Housing Services Corp. et al., B-406738, et seq., 2012 CPD ¶ 236 (Aug. 15, 2010).
9
 See memorandum from Michael J. Davidson, Chief, CALD, OPLA, ICE, to William C. Randolph, Director and
Head of Contracting Activity, OAQ, ICE, Funding Intergovernmental Service Agreements 1 n.1 (Feb. 7, 2013);
ICECAP 07.08, supra note 2, at ¶ 2(a) (“IGSAs are not grants or cooperative agreements”).

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     OIG Rebuttal: We do not dispute ICE’s authority to solicit proposals for the South Texas
     Family Residential Facility or ICE’s general authority to enter into agreements for the care
     and housing of detainees. However, we do contend that the South Texas Modification would
     not have qualified under 8 U.S.C. § 1103(a)(11)(A) because it was, in practical terms, an
     agreement made with a private company (CCA), not with a state, local, or tribal government.
     A contracting officer’s memorandum to the file documents that ICE asked private
     companies, not the City of Eloy, to provide proposals for the South Texas facility. Any
     delegation of negotiation authority by the City of Eloy, located in another state, came after
     CCA was selected to meet ICE’s need for additional detention beds. The City’s meeting
     minutes demonstrate that the city was acting merely as a “fiscal agent” (i.e., middleman) for
     CCA.


As far back as 1999, the former Immigration and Naturalization Service (INS)
utilized established acquisition procedures for entering into IGSAs for the same
detention services.10 These foundational guidelines continue to serve as an
important part of the groundwork for the current ICE IGSA acquisition
procedures outside of the FAR framework. As explained in Immigration and
Naturalization Service Acquisition Procedures (INSAP) 04-02, in 1982 the Office
of Management and Budget recognized the unique nature of the federal
detention marketplace, and issued a memorandum to the Department of
Justice authorizing the INS, the Bureau of Prisons, and the U.S. Marshals
Service (USMS), to process jail agreements outside of the FAR. The INS relied
on this memorandum until 1996, when statutory language was added to the
Illegal Immigration Reform and Immigrant Responsibility Act of 1996,11
authorizing the use of IGSAs for immigration detention. The ICE Contract and
Acquisition Procedures (ICECAP) replaced INSAP, and on May 25, 2010, ICE
issued ICECAP 10.08 R1, establishing updated policy and procedures for
establishing IGSAs.12

By their very nature, detention center requirements are unpredictable and
often urgent and compelling, and ICE’s use of its unique IGSA authority to
procure detention space operates differently from traditional FAR-based
procurements. The scope of the detention center IGSA vehicle may be broad
and/or in flux as requirements change, but the rigorous contracting
procedures and leadership oversight applied to these procurements remain
steadfast. To that end, ICE is always receptive to improving its acquisition
procedures. ICE OAQ acquisition policies are contained in its legacy ICECAPs
and the ICE Contracting Supplement. ICECAP 10.08 R1, Inter-Governmental
Service Agreements, outlines the policies and procedures for negotiating and
awarding an IGSA and is available as a guide for ICE OAQ employees to follow
when negotiating an IGSA. As outlined in ICECAP 10.08 R1, ICE OAQ has a
standard IGSA package for new IGSA awards that includes: the Jail Services

10
     INSAP-04-02, Acquisition Procedures for Inter-Governmental Service (Jail) Agreements (May 3, 1999).
11
     Pub. L. No. 104-208, 1120 Stat. 3009-546.
12
     The ICECAP was not applicable to Inter-Governmental Agreements awarded by the U.S. Marshals Service.

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Cost Statement (JSCS), Performance Work Statement, Quality Assurance and
Surveillance Plan, DHS Prison Rape Elimination Act, security requirements,
multiple medical requirements, and the basic IGSA statement of work. The
service provider is responsible for filling out the JSCS and submitting it to ICE
to substantiate costs associated with providing detention services. The JSCS
captures total personnel costs, total personnel benefits, total consultant and
contract services, other direct operating costs, indirect costs, equipment
depreciation costs, and building depreciation costs of the service provider for a
given fiscal year. A formula within the JSCS then calculates the proposed bed
day rate based on those costs. The completed JSCS is evaluated by the
Contracting Officer in conjunction with the ICE/ERO Detention Planning and
Acquisition Unit (DPAU) to determine allowable and unallowable costs and
ultimately to decide whether the bed-day rate proposed is fair and reasonable
based on the cost data supplied.

 OIG Rebuttal: We do not dispute ICE’s need to respond to changing and sometimes
 unpredictable requirements. However, when asked for its policies on IGSAs, ICE personnel
 provided templates and checklists. When we specifically asked for the latest version of
 ICECAP 07.08 Intergovernmental Service Agreements (IGSAs), ICE’s Deputy Assistant
 Director for Acquisition Policy & Procedures said the ICECAPs were no longer ICE policy.
 Templates and checklists are not an adequate substitution for current written policy and
 procedures.


ICE OAQ executes detention center contracts and IGSAs in the best interest of
the Federal Government, taxpayers, and detainees. Before an IGSA is awarded,
ICE must conduct an analysis of possible detention space alternatives. This
includes identifying whether any state or local detention facilities as well as any
existing ICE IGSA or USMS Inter-Governmental Agreement, is available. The
requirements are vetted and refined through multiple program offices within
ICE before it reaches OAQ. After the requirement reaches OAQ, extensive
negotiations occur between OAQ and the service provider until an acceptable
agreement is reached. The service provider is required to submit
documentation to the government to allow for input from the government’s
technical experts. This includes representatives from ICE’s Enforcement and
Removal Operations, including the DPAU and ICE Health Service Corps, and
the ICE Office of the Chief Financial Officer, including the Office of Budget and
Program Performance to ensure that ICE is obtaining services that represent
the best value to the government, taxpayers and detainees. For this particular
modification to the City of Eloy IGSA, several discussions were held with
senior-level contracting leadership and ICE senior leadership to discuss
concerns, assess risk, and identify the best path forward for this procurement.

The initial scope of the IGSA with the City of Eloy was for the housing, care,
and security of persons detained by ICE, which aligns with ICE’s statutory
IGSA authority. The modification adding family detention services
(Modification P00010) was well within the scope of the Eloy IGSA. The only
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difference is that Modification P00010 would provide for the care of families
(women and children) in accordance with the Family Residential Standards.
Thus, Modification P00010 was a bi-lateral modification that expanded the
population that would be detained from all males to include families, still
within the initial scope of the Eloy IGSA. Even assuming Modification P00010
was deemed out-of-scope, the flexibilities associated with ICE’s IGSA authority
would have still permitted such a modification.

 OIG Rebuttal: ICE had options, other than modifying the Eloy IGSA, such as a sole-source
 contract with CCA, executing a new IGSA with a locality closer to the facility, or modifying
 the IGSA of a closer locality. ICE did not justify its elimination of these options. We also
 contend that the modification was improper as it was outside the scope of the initial
 agreement both in form and in substance. Eloy has practically no oversight over a facility
 that was constructed 900 miles away.


In the case of the family detention IGSA with the City of Eloy, ICE OAQ has
documented the negotiations and determined that the price was fair and
reasonable using, as a guideline, the established contracting procedures of FAR
Part 15 principles. As with any IGSA, the Contracting Officer made a
determination of “fair and reasonable” price (which is a price that is fair to both
the buyer and seller, given the requirement and current conditions). As the
draft report recognizes, the contract was negotiated at a time when DHS was
responding to an unprecedented border surge and ICE had an urgent need for
additional detention services. ICE was able to obtain a reasonable price
through negotiations with the vendor. Through four weeks of negotiations
prior to award, ICE achieved price reductions and was able to eliminate some
elements of risk. Although risk remained at the initiation of this contract due
to circumstances surrounding large-scale border crossings at the time, as the
risk has decreased over time OAQ has continued to explore opportunities for
cost savings at this facility. In fact, a later bi-lateral modification (P00027)
reduced the monthly firm-fixed price for 2,400 beds significantly. Given the
unique conditions and requirements for family detention, the price ICE is
paying for use of beds at this facility is fair and reasonable.

 OIG Rebuttal: Unless ICE discontinues its current practice and establishes and
 communicates specific written procedures for IGSAs, ICE risks overpaying for detention
 services.


The Contracting Officer’s Memorandum to File documents the background and
rationale for modifying the existing IGSA with the City of Eloy to add family
detention services at Dilley, Texas. In July 2014, OAQ issued a request for
proposals to two vendors, GEO and CCA, for an up-to-2,000-bed facility to
detain illegal alien families in ICE custody. Only CCA responded, offering a
proposal to modify the IGSA with the City of Eloy. Under the Eloy IGSA, CCA
is the service provider and responsible for providing the facility and detention
services at the Eloy Detention Center. CCA operates as a sub-contractor on
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the Eloy IGSA and has a separate agreement with Eloy outlining its
relationship with Eloy. The City of Eloy authorized CCA to speak with ICE on
behalf of Eloy as it relates to detention services provided under the IGSA. After
reviewing all the alternatives and discussions with OPLA, the Contracting
Officer determined that modifying the Eloy IGSA to provide family detention
services in Dilley, Texas, was not statutorily prohibited.

 OIG Rebuttal: The contracting officer’s memorandum to the file does not provide a
 rationale for ICE’s actions; rather, it simply documents events that took place. We do not
 dispute ICE’s authority to solicit proposals for the South Texas Family Residential Facility
 or ICE’s general authority to enter into agreements for the care and housing of detainees.
 However, we do contend that the South Texas Modification would not have qualified under
 8 U.S.C. § 1103(a)(11)(A) because it was, in practical terms, an agreement made with a
 private company (CCA), not with a state, local, or tribal government. Despite the fact that
 the agreement was signed by a representative for the City of Eloy, the City’s meeting
 minutes demonstrate that the city was acting merely as a “fiscal agent” for CCA. In its
 response to this report, ICE acknowledged that CCA was selected to provide detention
 services in south Texas before the Eloy IGSA was identified for modification.


The draft report contained two recommendations, one with which ICE concurs
and one with which it non-concurs. Attached find our detailed response to
each recommendation. Technical comments were previously provided under
separate cover.

Thank you again for the opportunity to comment on this draft report. Please
feel free to contact me if you have any questions. We look forward to working
with you again in the future.


Attachment
    ICE Management Response to Recommendations Contained in 15-124-
      AUD-ICE




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Attachment: U.S. Immigration and Customs Enforcement (ICE)
Management Response to Recommendations Contained in 15-
                       124-AUD-ICE


OIG recommended that:

Recommendation 1: The Deputy Director of ICE establish and communicate
specific written procedures for Intergovernmental Service Agreements (IGSAs)
implementing Federal guidelines that include:
   a. A definition of an IGSA and determination of whether it is a cooperative
       agreement or procurement contract;
   b. Administrative requirements for the solicitation and award of IGSAs;
   c. Post-award requirements;
   d. Guidelines for modifications, and;
   e. Allowable cost structure.

Response: Concur. ICE’s Office of Acquisition Management (OAQ) has
established specific written procedures for negotiating, establishing, and
administering IGSAs, but agrees that it will undertake an effort to ensure the
procedures address each of the areas outlined in this recommendation, as
appropriate.

It is important to recognize, however, that ICE Contracting and Acquisition
Procedure (ICECAP) 07.08 defines an IGSA and discusses in detail ICE’s
authority to enter into IGSAs with non-federal government entities to house
immigration detainees. This guidance clearly states that an IGSA is not a
cooperative agreement and makes it clear that IGSA are not acquisitions
governed by the FAR. Rather, IGSAs function as a form of fixed-price,
indefinite quantity, indefinite delivery type contract, some of which include a
monthly guaranteed minimum.

In addition, ICECAP 07.08 states the IGSAs are not usually competed; rather,
ICE identifies an available non-federal government entity that could provide
detention services, negotiates terms and a price for the services, and then
enters into an IGSA. It is the legal opinion of the ICE Office of the Principal
Legal Advisor that IGSAs are exempt from the competition requirements of the
Competition in Contracting Act (CICA) and the Federal Acquisition Regulation
(FAR).

ICE has also established standard templates for IGSA solicitations including a
streamlined Jail Services Cost Statement (JSCS) to ensure payment of a fair

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and reasonable price. The process for handling post-award requirements and
modifications are included in the language of the standard IGSA template.

Further, ICECAP 07.08 states that IGSAs are subject to OMB Circular A-87,
Cost Principles for State, Local and Indian Tribal Governments, codified at 2
C.F.R. § 225. The JSCS, previously discussed, calculates a bed-day rate based
on allowable costs in a given fiscal year based on cost data supplied by the
IGSA contracting partner. The JSCS template supplied to vendors also
includes a certification statement acknowledging that costs prohibited by OMB
Circular A-87 are not allowed to be charged.

Estimated Completion Date: April 30, 2018.

Recommendation 2: ICE discontinue modifying the Eloy IGSA to procure
family detention space at the South Texas Family Residential Center and use
the procedures developed in Recommendation 1 to procure necessary housing
for family detention.

Response: Non-concur. ICE disagrees with the recommendation to
discontinue modifying the Eloy IGSA for family detention services at the
STFRC. ICE modified its IGSA with the City of Eloy to provide care and
housing of families in ICE custody at the STFRC in Dilley, Texas, in accordance
with the terms and conditions of its existing IGSA with Eloy. ICE has statutory
authority at 8 U.S.C. § 1103(a)(11)(A) to procure detention services through
IGSAs. IGSAs are not governed by the FAR or subject to the full and open
competition requirements under CICA. In addition, ICE has written procedures
and guidance about how to negotiate, establish and administer IGSAs, which
were followed and are currently being reviewed and updated (in response to
Recommendation 1), as appropriate. We request that OIG consider this
recommendation resolved and closed.




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